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    June 7, 2024



    Honorable Joel Schneider (Ret.)
    Montgomery McCracken Walker & Rhoads LLP
    457 Haddonfield Road, Suite 600
    Cherry Hill, NJ 08002

              Re: In Re: Johnson & Johnson Talcum Powder Products Marketing,
              Sales Practices, and Products Liability Litigation (MDL No. 2738) –
              Supplemental Letter Brief ISO the Plaintiffs’ Steering Committee’s
              Opposition to Defendants’ Motion to Compel Inspection of Dr. William
              Longo’s Laboratory

    Dear Judge Schneider:

          Plaintiffs, by and through the Plaintiffs’ Steering Committee (“PSC”), write
    to supplement their Opposition to Defendants’ Motion to Compel the Inspection of
    Dr. William Longo’s Laboratory in light of expert reports Defendants recently
    disclosed in the MDL. On May 28, 2024, Defendants disclosed the reports of their
    experts Drs. Ann G. Wylie and Shu-Chun Su. See Exhibits A (Wylie) and B (Su).
    These very reports confirm that Defendants have no need to inspect Dr. Longo’s
    laboratory.

          The crux of Defendants’ argument is that an inspection of Dr. Longo’s
    laboratory—and the contemporaneous (and unprecedented) observation of Dr.
    Longo and MAS’s PLM analysis— “is critical to Defendants’ defense of these cases
    and Rule 702 analysis.” Defs’ Motion to Compel at 10. The bottom line of
    Defendants’ argument is that their experts need to see what Dr. Longo sees in real
    time in order to respond to Dr. Longo’s conclusions regarding the presence of
    chrysotile asbestos in Johnson’s Baby Powder. But as evidenced by their reports,
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    Defendants’ experts have already provided their opinions in response to Dr. Longo’s
    conclusions. This fact completely undercuts Defendants’ rationale for “needing” the
    inspection.

          Indeed, while Defendants claim that the inspection and observation is
    necessary because they cannot rely on the images produced in Dr. Longo’s reports,
    Defendants’ own experts have already opined on Dr. Longo’s reports, including the
    photomicrographs used in those reports. For example, Defendants’ expert Dr. Wylie
    opines that “the particles MAS identified as chrysotile are actually composed of the
    mineral talc.” Wylie Report at 1 (attached as Exhibit A). To come to her conclusion,
    Dr. Wylie analyzes numerous photomicrographs from Dr. Longo’s reports. The
    same is true for Defendants’ expert Dr. Su. Dr. Su’s report includes a 79-page
    presentation analyzing dozens of photomicrographs of samples analyzed by Dr.
    Longo and MAS. In his report, Dr. Su uses these images to assert, in his opinion,
    why Dr. Longo and MAS’s identification of chrysotile is “incorrect and unreliable.”
    Su Report at 3 (attached as Exhibit B).

          For example, Defendants argue that the only way to determine the true color
    of the area of the particle Dr. Longo is relying on is to look live through a
    microscope, not at the produced images. Defs’ Motion to Compel at 11. But Dr. Su
    has already used the produced images to opine that Dr. Longo and MAS assigned
    incorrect refractive index values to particles and, further, contend what refractive
    index values he believes should have been applied to those particles. See, e.g.,
    Exhibit C to Su Report at 7-9.

          In short, Defendants’ experts have had no problem drawing conclusions from
    Dr. Longo’s reports, including the photomicrographs of the samples used in those
    reports. Defendants therefore have no need to inspect Dr. Longo’s laboratory or
    require that Dr. Longo and MAS technicians repeat their PLM analyses. This puts
    Defendants’ notice of inspection squarely beyond the bounds of permissible
    discovery and proves it is unreasonable. See Fed. R. Civ. P. 26(b)(1) (discovery must
    be “proportional to the needs of the case”); McConnell v. Canadian Pacific Realty,
    280 F.R.D. 188, 191 (M.D. Pa. 2011) (“[T]he touchstone for analysis of a Rule 34
    inspection request is reasonableness.”); Belcher v. Basset Furniture Industries, 588
    F.2d 904, 908 (4th Cir. 1978); (the court should balance the need for the inspection
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    against the burdens and dangers created by the inspection); National Manufacturing
    Co. v. Janed Enterprises, Inc., 2013 WL 12470870 at 1 (D.N.J. July 3, 2013) (citing
    Belcher). Because there is no legitimate need for the inspection, Defendants’ true
    motivation here is clear – pure harassment. Accordingly, the Court should deny
    Defendants’ motion to compel.

                                      Respectfully submitted,
                /s/ P. Leigh O'Dell                     /s/ Michelle A. Parfitt

                P. Leigh O'Dell                         Michelle A. Parfitt


    cc:   Hon. Joel Schneider, U.S.M.J. (ret.) (via email)
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